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                            UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF VIRGINIA
                                 Newport News Division


 UNITED STATES OF AMERICA,

 v.

                                                       Action No. 4:07cr69

 CLIFTON RICHARD ZABEL,

               Defendant.




                         ACCEPTANCE OF PLEA OF GUILTY,
                           ADJUDICATION OF GUILT and
                               NOTICE OF SENTENCING



        Pursuant to the Report and Recommendation of the United States Magistrate

Judge, to which there has been no timely objection, the plea of guilty of the defendant

to a lesser included offense in Count 1 and Count 13 of a twenty-two (22) count

Superseding Indictment, is now CONDITIONALLY ACCEPTED and the defendant will
be ADJUDGED GUILTY of such offense at the sentencing.

       Sentencing is hereby scheduled for February 25, 2008 at 3:00 p.m.

       The Clerk is DIRECTED to forward a copy of this Order to counsel for defendant
and to the Assistant United States Attorney.

       IT IS SO ORDERED.

                                                                 JsL
                                                   Walter D.Kelley.Je,
                                                   UniteJ

Norfolk, Virginia
December 3 .2007
